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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WADE JACKSON                                    :      CIVIL ACTION
                                                :
      v.                                        :
                                                :
CONSUMER PORTFOLIO SERVICES,                    :      NO. 09-2547
INC., et al                                     :


                                         ORDER

      AND NOW, this 3rd day of September, 2009, it having been reported that the issues

between the parties in this action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure, it is ORDERED that

this action is DISMISSED with prejudice, without costs, pursuant to agreement of counsel.



                                                S/ Timothy J. Savage
                                                TIMOTHY J. SAVAGE, J.
